      Case 3:20-cv-00822-LEK-ML Document 156 Filed 04/07/22 Page 1 of 30




IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK
______________________________________________

YOUNG AMERICA’S FOUNDATION;
BINGHAMTON UNIVERSITY COLLEGE
REPUBLICANS; and JOHN LIZAK, President                              DEFENDANT STUDENT
of the College Republicans of Binghamton                            ASSOCIATION RULE 26(a)(1)
University,                                                         INITIAL DISCOVERY

                                                                    Civil Action 3:20-cv-822
                              Plaintiffs,
       v.

HARVEY STENGER, President of SUNY-Binghamton,
in his official and individual capacities; BRIAN ROSE,
Vice President for Student Affairs of SUNY-
Binghamton, in his official and individual capacities;
JOHN PELLETIER, Chief of SUNY-Binghamton,
UPD, in his official and individual capacities;
COLLEGE PROGRESSIVES, a student organization
at SUNY-Binghamton; PROGRESSIVE LEADERS
OF TOMORROW (“PLOT”); STUDENT ASSOCIATION
OF BINGHAMTON, UNIVERSITY,

                              Defendants,

______________________________________________

       Pursuant to Federal Rule of Civil Procedure 26(a)(1)(A)(I), defendant Student Association

of Binghamton, University (hereinafter referred to as the SA), , by its attorneys Aswad & Ingraham,

LLP, Thomas A. Saitta, Esq. of counsel, provides the following initial disclosures;

1. WITNESSES;

       The SA is aware of the following witnesses who have discoverable information relative to the

claims, counterclaims and cross claims in this action;

       Rati Lolashvili; Constitutions Assistant, Student Association. She had written communication

with Daniel O’Keefe relative to the approval of the constitution of the College Republicans.
      Case 3:20-cv-00822-LEK-ML Document 156 Filed 04/07/22 Page 2 of 30




        Daniel O’Keefe; College Republicans; Had written communications with Rati Lolashvili re:

approval of College Republican Constitution.

        Shirley Hu; Constitutions Assistant, Student Association. She had written communication

with Daniel O’Keefe relative to the approval of the constitution of the College Republicans.

        Joshua M. Danziger; SA Internal Affairs Committee. He had written communications with

Ms. Hu re: College Republican Constitution.

        Brian T. Rose; Vice President for Student Affairs, Binghamton University. Mr. Rose had

correspondence with SA officials relative to inquires from FIRE regarding the Laffer incident.

        Zachary Greenberg; Program Office, Foundation for Individual Rights in Education (FIRE).

Wrote to and received from Brian T. Rose letters regarding the Laffer Incident.

        Erin Bishop; Executive VP for SA. She had correspondence with SA officials including Orrin

Kenyon, Matthew Johnson seeking to have the College Republican’s B-there account suspended for

violating university policy.

        Matthew Johnson; Assistant Director of SA. Had correspondence with D. Urbanski relative to

article in the Blaze.

        Kyle Nelson: Treasurer College Republicans. Had correspondence with Erin Bishop re: College

Republican’s failure to re-register for the 2020-2021 school year.

        The above witnesses with the exception of Mr. Rose are students who have graduated.

Accordingly, the SA does not have current address on these individuals.
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2. DOCUMENTS

       Attached hereto as exhibit A are the following documents that defendant SA may use to support

its claims and defenses.

       Document:                                         Bates Stamp No.

       E-mail 4-8-19; from Rati Lolashvili               SA001

       E-mail 10-6-19; from Shirley Hu                   SA006

       E-mail 10-8-19; from Shirley Hu                   SA008

       E-mail 10-8-19; from Shirely Hu                   SA010

       E-mail 10-17-22; from Brian Rose                  SA014

       E-mail 10-28-19; from Brian Rose                  SA016

       Letter 10-28-19; from Brian Rose
               to Zach Greenbury                         SA017

       E-mail 11-14-19; from Erin Bishop                 SA020
              B-Account suspension

       E-mail 11-21-19; from Matthew Johnson             SA021

       E-mail 12-6-19; from Erin Bishop                  SA025

       Defendant SA reserves the right to supplement these responses as further documents become

available.


Dated: April 7, 2022
                                                  s/ Thomas A. Saitta
                                                  Thomas A. Saitta, Esq.
                                                  Federal Bar Roll #102510
                                                  ASWAD & INGRAHAM, LLP
                                                  Attorneys for defendant Student Association at
                                                  Binghamton University, Inc.
                                                  46 Front Street
                                                  Binghamton, NY 13905
                                                  Telephone No. (607)-722-3495
                                                  Facsimile No. (607)-722-2566
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                                                      Email: Tom.Saitta@ailaw.com


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                       EXHIBIT A
                       Case 3:20-cv-00822-LEK-ML Document 156 Filed 04/07/22 Page 6 of 30
The Student Association at Binghamton University Mail - Constitutions Assistant Office Hours (Daniel R O'Keefe)                   7/29/20, 2(56 PM




                                                                            Constitutions Assistant <constitutions@binghamtonsa.org>



 Constitutions Assistant Office Hours (Daniel R O'Keefe)
 15 messages

 Constitutions Assistant <constitutions@binghamtonsa.org>                                                         Mon, Apr 8, 2019 at 11:43 AM
 To: dokeefe2@binghamton.edu

    Dear Daniel,

    Due to personal reasons I can not make it to my office hours today. If you could send me your constitutions and any
    other specific questions you have I will make comments and answer your questions tonight, without you coming in my
    office hours.

    Hope that works for you,
    Rati Lolashvili
    --

                              Rati Lolashvili
                              Constitutions Assistant, Executive Vice President's
                              Office
                              Student Association at Binghamton University, Inc.
                              (607) 777-4296 | binghamtonsa.org | UUW 203



 Daniel R O'Keefe <dokeefe2@binghamton.edu>                                                                       Mon, Apr 8, 2019 at 12:48 PM
 To: Constitutions Assistant <constitutions@binghamtonsa.org>

    Dear Rati,

    No problem at all! Attached is the constitution.

    I do have one question for you. I received an email from Erin stating that we could not use the constitution from Young
    America's Foundation, as it needs to be "specific to the Binghamton chapter." However, due to the fact that this
    chapter will be a branch of Young America's Foundation, we have been explicitly informed by the organization to
    follow the constitution that they have provided. We are allowed to make alterations to the document, which we would
    have to send back to YAF for approval, but rewriting our own constitution may not be possible. Please let me know if
    this will be an issue so that I can then contact YAF to seek out any possible alternatives. Thank you so much!

    All the best,
    Dan O'Keefe
    [Quoted text hidden]


          YAF-Chapter-Constitution.doc
          151K


 Constitutions Assistant <constitutions@binghamtonsa.org>                                                          Mon, Apr 8, 2019 at 1:45 PM
 To: Daniel R O'Keefe <dokeefe2@binghamton.edu>



https://mail.google.com/mail/b/ALGkd0wH-hxg1m5Fzrw4sxCRSZYat5…sg-a%3Ar7537385655929366821&simpl=msg-f%3A1632173270825768919            Page 1 of 5

                                                                                                                               SA001
                       Case 3:20-cv-00822-LEK-ML Document 156 Filed 04/07/22 Page 7 of 30
The Student Association at Binghamton University Mail - Constitutions Assistant Office Hours (Daniel R O'Keefe)                   7/29/20, 2(56 PM



    Dear Dan,

    I’ll get back to you tonight,

    Enjoy your Monday,
    Rati Lolashvili
    [Quoted text hidden]



 Constitutions Assistant <constitutions@binghamtonsa.org>                                                          Tue, Apr 9, 2019 at 9:13 PM
 To: Daniel R O'Keefe <dokeefe2@binghamton.edu>

    Dear Daniel,

    Are you free this Friday to meet? I have read your constitution and I think we have good amount of work to do together
    so I would rather meet.

    Let me know regarding your availability,

    All the best,
    Rati Lolashvili
    [Quoted text hidden]



 Daniel R O'Keefe <dokeefe2@binghamton.edu>                                                                        Tue, Apr 9, 2019 at 9:26 PM
 To: Constitutions Assistant <constitutions@binghamtonsa.org>

    Rati,

    I’ll be free on Friday at noon if that works. I hope we’ll be able to resolve the issues you found.

    Best,
    Dan

    Sent from my iPhone
    [Quoted text hidden]



 Daniel R O'Keefe <dokeefe2@binghamton.edu>                                                                       Thu, Apr 11, 2019 at 4:48 PM
 To: Constitutions Assistant <constitutions@binghamtonsa.org>

    Hello Rati,

    Just confirming our meeting at 12 tomorrow.. please just let me know if that time works for you.

    All the best,
    Dan O’Keefe

    Sent from my iPhone
    [Quoted text hidden]



 Constitutions Assistant <constitutions@binghamtonsa.org>                                                         Thu, Apr 11, 2019 at 4:51 PM
 To: Daniel R O'Keefe <dokeefe2@binghamton.edu>

    Dear Daniel,



https://mail.google.com/mail/b/ALGkd0wH-hxg1m5Fzrw4sxCRSZYat5…g-a%3Ar7537385655929366821&simpl=msg-f%3A1632173270825768919             Page 2 of 5

                                                                                                                               SA002
                       Case 3:20-cv-00822-LEK-ML Document 156 Filed 04/07/22 Page 8 of 30
The Student Association at Binghamton University Mail - Constitutions Assistant Office Hours (Daniel R O'Keefe)                    7/29/20, 2(56 PM



    My office hours start at 2 and goes until 5. I already have three appointments booked from 2-3. Was wondering if you
    could come in just after that?

    All the best,
    Rati Lolashvili
    [Quoted text hidden]



 Daniel R O'Keefe <dokeefe2@binghamton.edu>                                                                       Thu, Apr 11, 2019 at 4:52 PM
 To: Constitutions Assistant <constitutions@binghamtonsa.org>

    Sure thing! Does 3:15 work?
    [Quoted text hidden]



 Constitutions Assistant <constitutions@binghamtonsa.org>                                                         Thu, Apr 11, 2019 at 4:54 PM
 To: Daniel R O'Keefe <dokeefe2@binghamton.edu>

    If you use the following link that would be great so that no one makes an appointment on the time that we have
    agreed on
    https://calendar.google.com/calendar/selfsched?sstoken=
    UU8zaHBzalkzSUlufGRlZmF1bHR8N2QwMjAxOGI0ZDdkNzRlZjA4ZWMzZjVlZTFkZjg5Mjc

    [Quoted text hidden]



 Daniel R O'Keefe <dokeefe2@binghamton.edu>                                                                       Thu, Apr 11, 2019 at 4:57 PM
 To: Constitutions Assistant <constitutions@binghamtonsa.org>

    I scheduled the appointment for 4:00 as I just realized I have to attend office hours for a class during the day. Looking
    forward to seeing you then.

    Sent from my iPhone
    [Quoted text hidden]



 Constitutions Assistant <constitutions@binghamtonsa.org>                                                         Thu, Apr 11, 2019 at 5:09 PM
 To: Daniel R O'Keefe <dokeefe2@binghamton.edu>

    Perfect, see you then
    [Quoted text hidden]



 Constitutions Assistant <constitutions@binghamtonsa.org>                                                          Fri, Apr 12, 2019 at 4:17 PM
 To: Daniel R O'Keefe <dokeefe2@binghamton.edu>

                        General Membership
                                If one is not accepted through the application process, they are given the
                         opportunity to become a General Member. General members are on our listserv,
                         are invited and encouraged to come to all of our events, and are encouraged to
                         apply for full time membership. General members will receive similar business
                         development opportunities and guidance from the TAMID chapter as full-time
                         members. General members do not have the opportunity to work on projects

https://mail.google.com/mail/b/ALGkd0wH-hxg1m5Fzrw4sxCRSZYat5…g-a%3Ar7537385655929366821&simpl=msg-f%3A1632173270825768919              Page 3 of 5

                                                                                                                               SA003
                       Case 3:20-cv-00822-LEK-ML Document 156 Filed 04/07/22 Page 9 of 30
The Student Association at Binghamton University Mail - Constitutions Assistant Office Hours (Daniel R O'Keefe)                     7/29/20, 2(56 PM



                           unless they apply for, are accepted to, and complete the education process.



                        Full Time Membership
                         Full time membership is achieved after the education requirement is completed.
                         Active and Inactive membership only applies for full time members.

    [Quoted text hidden]



 Daniel R O'Keefe <dokeefe2@binghamton.edu>                                                                       Wed, Apr 17, 2019 at 12:48 PM
 To: Constitutions Assistant <constitutions@binghamtonsa.org>

    Hi Rati,

    I hope all is well. Attached is the revised version of the Young American's for Freedom constitution. I wasn't able to
    make every alteration that we discussed (I explained why in a note I left in the document), but I hope this document
    satisfies SA's requirements. The text of all the alterations that have been made are in red. Please let me know what
    your thoughts are or if you have any further questions. Once again, I greatly appreciate your time.

    Best,
    Dan O'Keefe
    [Quoted text hidden]


          YAF-Chapter-Constitution.doc
          154K


 Constitutions Assistant <constitutions@binghamtonsa.org>                                                         Mon, Apr 22, 2019 at 11:58 AM
 To: Daniel R O'Keefe <dokeefe2@binghamton.edu>

    Dear Dan,

    We are missing sections addressing grievances and officer removal.
    Attached below you will find the Student Association Management Policy. Click on Policy VII and scroll down to the
    part where it says constitution. Use the given as a reference on how to word the mentioned 2 sections.
    http://binghamtonsa.org/wp-content/uploads/2017/05/SA-Management-Policies-May-22-2017.pdf

    I'm concerned about the membership denial/termination part but you will have to explain that part during the
    presentation with the Internal Affairs. Hopefully, they won't give you trouble for that.

    All the best,
    Rati Lolashvili

    [Quoted text hidden]



 Daniel R O'Keefe <dokeefe2@binghamton.edu>                                                                        Mon, Apr 29, 2019 at 2:15 PM
 To: Constitutions Assistant <constitutions@binghamtonsa.org>

    Dear Rati,

    I apologize for the late response. Attached is the revised version of the constitution including sections addressing


https://mail.google.com/mail/b/ALGkd0wH-hxg1m5Fzrw4sxCRSZYat5…g-a%3Ar7537385655929366821&simpl=msg-f%3A1632173270825768919               Page 4 of 5

                                                                                                                                SA004
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The Student Association at Binghamton University Mail - Constitutions Assistant Office Hours (Daniel R O'Keefe)              7/29/20, 2(56 PM



    grievances and officer removal (highlighted in yellow). I will simply keep the clauses pertaining to membership
    denial/membership until we meet with IA if that works for the time being. Thank you once again for all of your
    assistance throughout this entire process.

    All the best,
    Dan O'Keefe
    [Quoted text hidden]


          (Binghamton University) YAF-Chapter-Constitution.doc
          154K




https://mail.google.com/mail/b/ALGkd0wH-hxg1m5Fzrw4sxCRSZYat5…g-a%3Ar7537385655929366821&simpl=msg-f%3A1632173270825768919        Page 5 of 5

                                                                                                                      SA005
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The Student Association at Binghamton University Mail - Young Americans for Freedom Constitution Issue                       7/29/20, 2(59 PM




                                                                          Constitutions Assistant <constitutions@binghamtonsa.org>



 Young Americans for Freedom Constitution Issue
 6 messages

 Constitutions Assistant <constitutions@binghamtonsa.org>                                                 Sun, Oct 6, 2019 at 8:00 AM
 To: Daniel R O'Keefe <dokeefe2@binghamton.edu>

    Hello Daniel,

    I've looked over the Constitution for Young Americans for Freedom and I've noticed a part that can not be permitted to
    be in the Constitution. I would like you to schedule an meeting with me during my office hours to discuss about it.

    Best Regards,
    --

                              Shirley Hu
                              Constitutions Assistant, Executive Vice President's
                              Office
                              Student Association at Binghamton University, Inc.
                              (607) 777-4296 | binghamtonsa.org | UUW 203



 Daniel R O'Keefe <dokeefe2@binghamton.edu>                                                               Sun, Oct 6, 2019 at 9:29 AM
 To: Constitutions Assistant <constitutions@binghamtonsa.org>

    Hello Shirley,

    No problem. I just scheduled a meeting for Tuesday at 2 pm to meet with you.

    Just out of curiosity, what part of the constitution needs to be removed? I know we will discuss this on Tuesday, but we
    had actually gotten our constitution approved by the previous constitution assistant last semester. If you could just let
    me know, that would be great!

    Look forward to meeting with you.

    Best,
    Dan
    --
    Binghamton University Undergraduate
    B.A. in Philosophy, Politics, and Law, May 2022

    [Quoted text hidden]



 Constitutions Assistant <constitutions@binghamtonsa.org>                                                Sun, Oct 6, 2019 at 11:23 AM
 To: Daniel R O'Keefe <dokeefe2@binghamton.edu>

    Hello Daniel,

    In Article II. Purposes, near the end of the first clause A, these lines are problematic and can not be part of the

https://mail.google.com/mail/b/ALGkd0wH-hxg1m5Fzrw4sxCRSZYat5…a%3Ar6854497794093980275&simpl=msg-a%3Ar-8583190915281487778        Page 1 of 2

                                                                                                                      SA006
                      Case 3:20-cv-00822-LEK-ML Document 156 Filed 04/07/22 Page 12 of 30
The Student Association at Binghamton University Mail - Young Americans for Freedom Constitution Issue                       7/29/20, 2(59 PM



    Constitution.

    "That the forces of international Communism are, at present, the greatest single threat to these liberties;
    That the United States should stress victory over, rather than coexistence with, this menace;"

    From what I'm aware of, this is part of the general principles of the Sharon Statement. Will it be possible for you to
    amend this part?

    Best Regards,
    Shirley
    [Quoted text hidden]



 Daniel R O'Keefe <dokeefe2@binghamton.edu>                                                              Sun, Oct 6, 2019 at 12:02 PM
 To: Constitutions Assistant <constitutions@binghamtonsa.org>

    To be quite honest, I'm not sure. I'll have to contact the national organization tomorrow morning in order to find out. I
    will email you as soon as I do.

    Best,
    Dan
    --
    Binghamton University Undergraduate
    B.A. in Philosophy, Politics, and Law, May 2022

    [Quoted text hidden]



 Constitutions Assistant <constitutions@binghamtonsa.org>                                                Sun, Oct 6, 2019 at 12:26 PM
 To: Daniel R O'Keefe <dokeefe2@binghamton.edu>

    Sounds good, please keep me posted.

    Best,
    Shirley
    [Quoted text hidden]



 Constitutions Assistant <constitutions@binghamtonsa.org>                                                Thu, Oct 17, 2019 at 1:38 PM
 To: Executive Vice President SA <evp@binghamtonsa.org>

    [Quoted text hidden]




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                                                                                                                      SA007
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The Student Association at Binghamton University Mail - Question about issue regarding Constitution                       7/29/20, 2(57 PM




                                                                           Constitutions Assistant <constitutions@binghamtonsa.org>



 Question about issue regarding Constitution
 3 messages

 Constitutions Assistant <constitutions@binghamtonsa.org>                                                 Tue, Oct 8, 2019 at 2:22 PM
 To: Internal Affairs Committee <IA@binghamtonsa.org>

    Hey Joshua,

    I'm currently in the talks with a chartering organization called Young Americans for Freedom and I found a part that I
    found iffy on being included in the Constitution (I raised this point with Yu Han who feels the same). I've quoted the
    specific part:

    "That the forces of international Communism are, at present, the greatest single threat to these liberties;
    That the United States should stress victory over, rather than coexistence with, this menace;"

    It is part of their national chapter's statement so there is little flexibility regarding what they can do about changing it.
    What are your thoughts; do you think this will be okay to being in the Constitution?

    Also do you have a set of guidelines IA follows through regarding what is allowed/not allowed in the Constitution so I
    can provide more clear answers in the future?

    I would greatly appreciate it if you can respond to this by Friday's meeting!

    Best,
    Shirley

    --

                              Shirley Hu
                              Constitutions Assistant, Executive Vice President's
                              Office
                              Student Association at Binghamton University, Inc.
                              (607) 777-4296 | binghamtonsa.org | UUW 203



 Internal Affairs Committee <ia@binghamtonsa.org>                                                         Tue, Oct 8, 2019 at 2:28 PM
 To: Constitutions Assistant <constitutions@binghamtonsa.org>

    So in terms of that phrase itself, it doesn't seem overly problematic so long as it's not encouraging their members to
    strike down communists and what not, if it's simply a statement like that im sure it's fine, but I agree it isn't the most
    necessary statement so your discretion is fine. In terms of IA expectations, we look for a neat format that is easy to
    follow and understand, usually laying out the Eboard positions thoroughly, as well as a transition process between the
    EBoards. We also expect the organizations to be prepared to answer potential questions about their constitution.




                              Joshua Martin Danziger


https://mail.google.com/mail/b/ALGkd0wH-hxg1m5Fzrw4sxCRSZYat5…sg-f%3A1646850797229369093&simpl=msg-a%3Ar6375516371678307570    Page 1 of 2

                                                                                                                      SA008
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The Student Association at Binghamton University Mail - Question about issue regarding Constitution                          7/29/20, 2(57 PM



                              Chair, Internal Affairs Committee
                              Student Association at Binghamton University, Inc.
                              (607) 777-4296 | binghamtonsa.org | UUW 203




    [Quoted text hidden]



 Constitutions Assistant <constitutions@binghamtonsa.org>                                              Thu, Oct 17, 2019 at 1:32 PM
 To: Executive Vice President SA <evp@binghamtonsa.org>

    [Quoted text hidden]




https://mail.google.com/mail/b/ALGkd0wH-hxg1m5Fzrw4sxCRSZYat5…g-f%3A1646850797229369093&simpl=msg-a%3Ar6375516371678307570        Page 2 of 2

                                                                                                                      SA009
                     Case 3:20-cv-00822-LEK-ML Document 156 Filed 04/07/22 Page 15 of 30
The Student Association at Binghamton University Mail - Good News                                                             7/29/20, 2(55 PM




                                                                    Constitutions Assistant <constitutions@binghamtonsa.org>



 Good News
 11 messages

 Constitutions Assistant <constitutions@binghamtonsa.org>                                                Tue, Oct 8, 2019 at 2:39 PM
 To: Daniel R O'Keefe <dokeefe2@binghamton.edu>

    Hello Daniel,

    I got the reply from IA about that particular phrase of the Sharon Statement and they are fine with it being in the
    Constitution.

    Just remember to add Event Coordinators (including how many will be necessary for the organization) into the
    Constitution and detail the position's responsibilities thoroughly.

    Best,
    --

                             Shirley Hu
                             Constitutions Assistant, Executive Vice President's
                             Office
                             Student Association at Binghamton University, Inc.
                             (607) 777-4296 | binghamtonsa.org | UUW 203



 Daniel R O'Keefe <dokeefe2@binghamton.edu>                                                              Tue, Oct 8, 2019 at 3:05 PM
 To: Constitutions Assistant <constitutions@binghamtonsa.org>

    Thank you for letting me know!

    Best,
    Dan

    Sent from my iPhone


            On Oct 8, 2019, at 2:40 PM, Constitutions Assistant <constitutions@binghamtonsa.org> wrote:



            [Quoted text hidden]




 Daniel R O'Keefe <dokeefe2@binghamton.edu>                                                              Tue, Oct 8, 2019 at 3:35 PM
 To: Constitutions Assistant <constitutions@binghamtonsa.org>

    Oh... and one more thing! After I spoke to Yuhan, he said we would be processed through insurance. Did this whole
    situation change that? If you could possibly find an estimated time relating to when we will hear back from SA so we
    can schedule a meeting with IA, that would be great!


https://mail.google.com/mail/b/ALGkd0wH-hxg1m5Fzrw4sxCRSZYat5…-a%3Ar-7823537325106793495&simpl=msg-a%3Ar-814901113940045653        Page 1 of 4

                                                                                                                       SA010
                      Case 3:20-cv-00822-LEK-ML Document 156 Filed 04/07/22 Page 16 of 30
The Student Association at Binghamton University Mail - Good News                                                             7/29/20, 2(55 PM



    *Sorry if the message seems sort've messy, I was trying to figure out how to word my question! Haha.

    Best,
    Dan
    --
    Binghamton University Undergraduate
    B.A. in Philosophy, Politics, and Law, May 2022

    [Quoted text hidden]



 Constitutions Assistant <constitutions@binghamtonsa.org>                                                Tue, Oct 8, 2019 at 3:57 PM
 To: Daniel R O'Keefe <dokeefe2@binghamton.edu>

    Hey Daniel,

    No, it wouldn't change anything. It's just part of the process for the insurance to look over the Constitution too.

    Regarding when you will hear back from SA, that would be dependent on receiving approval by all the other assistants
    of the office.

    Also can you send me the final revised Constitution including the revision/chartering date at the top of the Constitution
    too so I can give the final approval?

    Best,
    Shirley
    [Quoted text hidden]



 Daniel R O'Keefe <dokeefe2@binghamton.edu>                                                           Wed, Oct 9, 2019 at 11:19 AM
 To: Constitutions Assistant <constitutions@binghamtonsa.org>

    Hi Shirley,

    That sounds great, thank you for the info!

    Also, would it be alright if I held off on the alteration to the Constitution regarding the Event Coordinator position? The
    reason being is that for every alteration we make to the constitution, Young America's Foundation (which is the
    national organization) also has to sign off on the change, which in this case would just prolong the delay. I understand
    if you would like to have it in now, but due to the fact that we haven't actually planned any events yet, I would
    personally like to see how we operate with the roles currently delegated to each e-board member. I know IA might
    bring up the issue, but I would also like to make this same case to them. Please let me know if this is okay. Thanks a
    lot.

    Best,
    Dan
    --
    Binghamton University Undergraduate
    B.A. in Philosophy, Politics, and Law, May 2022

    [Quoted text hidden]



 Constitutions Assistant <constitutions@binghamtonsa.org>                                               Wed, Oct 9, 2019 at 9:59 PM
 To: Daniel R O'Keefe <dokeefe2@binghamton.edu>

    Hi Daniel,

https://mail.google.com/mail/b/ALGkd0wH-hxg1m5Fzrw4sxCRSZYat5…-a%3Ar-7823537325106793495&simpl=msg-a%3Ar-814901113940045653        Page 2 of 4

                                                                                                                       SA011
                      Case 3:20-cv-00822-LEK-ML Document 156 Filed 04/07/22 Page 17 of 30
The Student Association at Binghamton University Mail - Good News                                                             7/29/20, 2(55 PM




    I understand your concern in regards to making alternations on the Constitution, but it is in your best interest to have
    everything finalized prior to being chartered because any future amendments would have to go through the
    amendment process (which means going through IA again and in your case, the National organization). I highly
    suggest adding the Event Coordinator positions if you can foresee them being needed as well.

    If you believe you can make a strong enough case for approval regarding how events will work out with your currently
    listed e-board, then yes, it's okay.

    Best,
    Shirley
    [Quoted text hidden]



 Daniel R O'Keefe <dokeefe2@binghamton.edu>                                                           Wed, Oct 9, 2019 at 11:25 PM
 To: Constitutions Assistant <constitutions@binghamtonsa.org>

    That sounds great! Another reason I would like to hold off on adding the EC position is that, in my own experience, the
    more positions there are on an e-board, the more likely officers feel as though they can "slack off" if you will. I know
    this may not be true in this case, but I would be willing to go through the process of altering the document in the future
    if I am proven wrong.

    Regarding the "chartering date" at the top of the Constitution, should I format it in a certain way, or just simply input
    the date you signed off on it? Please just let me know. Thank you once again for all your help!

    Best,
    Dan
    --
    Binghamton University Undergraduate
    B.A. in Philosophy, Politics, and Law, May 2022

    [Quoted text hidden]



 Constitutions Assistant <constitutions@binghamtonsa.org>                                             Thu, Oct 10, 2019 at 12:09 AM
 To: Daniel R O'Keefe <dokeefe2@binghamton.edu>

    Hi Daniel,

    Got it; that is a valid reason.

    I've attached the sample constitution to this email so just reference that for where to place the chartering date.

         Sample-Constitution.pdf

    Best,
    Shirley
    [Quoted text hidden]



 Daniel R O'Keefe <dokeefe2@binghamton.edu>                                                            Thu, Oct 10, 2019 at 8:35 AM
 To: Constitutions Assistant <constitutions@binghamtonsa.org>

    Awesome. Attached is the constitution with the chartering date. Once again, thanks a lot for all your help!

    Best,

https://mail.google.com/mail/b/ALGkd0wH-hxg1m5Fzrw4sxCRSZYat5…-a%3Ar-7823537325106793495&simpl=msg-a%3Ar-814901113940045653        Page 3 of 4

                                                                                                                       SA012
                      Case 3:20-cv-00822-LEK-ML Document 156 Filed 04/07/22 Page 18 of 30
The Student Association at Binghamton University Mail - Good News                                                             7/29/20, 2(55 PM



    Dan
    --
    Binghamton University Undergraduate
    B.A. in Philosophy, Politics, and Law, May 2022

    [Quoted text hidden]


          (Binghamton University) YAF-Chapter-Constitution.pdf
          130K


 Constitutions Assistant <constitutions@binghamtonsa.org>                                              Thu, Oct 10, 2019 at 1:22 PM
 To: Daniel R O'Keefe <dokeefe2@binghamton.edu>

    Great, you are set. You have my approval.

    Best,
    Shirley
    [Quoted text hidden]



 Constitutions Assistant <constitutions@binghamtonsa.org>                                              Thu, Oct 17, 2019 at 1:32 PM
 To: Executive Vice President SA <evp@binghamtonsa.org>

    [Quoted text hidden]




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                                                                                                                       SA013
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The Student Association at Binghamton University Mail - Young Americans for Freedom YAF                                    7/29/20, 2(37 PM




                                                                               Executive Vice President SA <evp@binghamtonsa.org>



 Young Americans for Freedom YAF
 3 messages

 Brian T Rose <brose@binghamton.edu>                                                                   Thu, Oct 17, 2019 at 10:52 AM
 To: evp@binghamtonsa.org, Mark Soriano <president@binghamtonsa.org>
 Cc: Barbara W Scarlett <scarlett@binghamton.edu>


    HI Erin / Emma:



    I’ve attached correspondence the university received about the above-referenced student organization. I obviously
    don’t know all the background, but if the facts as stated in the letter are reasonably accurate, I think FIRE has raised a
    legitimate concern. Barbara Scarlett (university legal counsel) will reach out to your counsel (Jim Haley) and I suggest
    you do the same. I’m going to have to ask that we meet on this ASAP. First step will be fact-finding – what actually
    has happened and we’ll go from there. My office will try to coordinate a meeting or conference call and we will
    certainly involve Mr. Haley in addition to yourselves.



    In the meantime – and this is just advice – I would recommend against any further communication with YAF reps until
    this gets sorted out.



    Brian



    Brian T. Rose

    Vice President for Student Affairs

    Binghamton University

    607-777-4788

    brose@binghamton.edu




          FIRE Letter to SUNY Binghamton October 2019.pdf
          148K


 President SA <president@binghamtonsa.org>                                         Thu, Oct 17, 2019 at 11:56 AM
 To: Brian T Rose <brose@binghamton.edu>
 Cc: Raaga Rajagopala <evp@binghamtonsa.org>, Matthew Johnson <assistantdirector@binghamtonsa.org>, Ornella M
 Paniccia-Harvey <oharvey@binghamton.edu>


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                                                                                                                       SA014
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The Student Association at Binghamton University Mail - Young Americans for Freedom YAF                                       7/29/20, 2(37 PM



    Hi Brian,
    YAF has not been denied and they are still completing the chartering process. The constitution was approved by the
    constitutions assistant as originally written. Jim has been in touch with Barbara.
    Best,
    Emma
                              Emma Ross
                              President & CEO
                              Student Association of Binghamton University, Inc.
                              (607) 777-7777 | binghamtonsa.org | UUW 203


    [Quoted text hidden]



 Brian T Rose <brose@binghamton.edu>                                                Thu, Oct 17, 2019 at 12:30 PM
 To: President SA <president@binghamtonsa.org>
 Cc: Raaga Rajagopala <evp@binghamtonsa.org>, Matthew Johnson <assistantdirector@binghamtonsa.org>, Ornella M
 Paniccia-Harvey <oharvey@binghamton.edu>, Barbara W Scarlett <scarlett@binghamton.edu>


    HI Emma:



    Thanks for the quick response. The information you offer is certainly encouraging, but I’m going to
    need more detail in order to be able to offer a sufficient response to FIRE. Particularly we would very
    much appreciate having copies of documents / email correspondence etc. If we represent something
    to FIRE that isn’t complete or fully accurate in our response, it will make it a much bigger story…and a
    story is FIRE’s aim here.



    I’ve asked my assistant Ashley to arrange a meeting. I can explain why / how the university has its
    own interests here (both legally and reputationally) when we meet.



    Brian T. Rose

    Vice President for Student Affairs

    Binghamton University

    607-777-4788

    brose@binghamton.edu


    [Quoted text hidden]




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                                                                                                                       SA015
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The Student Association at Binghamton University Mail - Binghamton Univ_YAF                                                 7/29/20, 2(38 PM




                                                                              Executive Vice President SA <evp@binghamtonsa.org>



 Binghamton Univ_YAF
 1 message

 Brian T Rose <brose@binghamton.edu>                                                                    Mon, Oct 28, 2019 at 9:26 AM
 To: zach.greenberg@thefire.org
 Bcc: evp@binghamtonsa.org


    Dear Mr. Greenberg:



    Please see attached.



    Sincerely,



    Brian T. Rose

    Vice President for Student Affairs

    Binghamton University

    607-777-4788

    brose@binghamton.edu




          Fire Response_YAF.docx
          54K




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                                                                                                                        SA016
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October 28, 2019


Zachary Greenberg
Program Officer, Individual Rights Defense Program
Foundation for Individual Rights in Education


       Re:     Binghamton University_YAF_Response to October 16, 2019 letter


Dear Mr. Greenberg:


I am writing in response to your October 16, 2019 letter concerning the recognition of Young
Americans for Freedom (YAF) by the Binghamton University Student Association (“SA”).
Your letter raises a concern that YAF was improperly being denied recognition for reasons that
could not be reconciled with the First Amendment. Your make particular reference to an
October 6, 2019 communication from the Constitutions Assistant in the office of the Executive
Vice President of the SA as the basis of your concern and proceed from there to provide a
briefing on First Amendment jurisprudence.
Upon receipt of your letter from President Stenger (to whom it was addressed) I contacted the
SA and their legal counsel to investigate the concerns raised in your letter. They shared with me
the October 6th communication you reference in your letter, a second internal communication
where the SA Constitutions Assistant raised her questions and concerns to an internal SA body
for guidance and a third communication also dated October 8, 2019. In this final October 8th
communication, the SA Constitutions Assistant relayed to the student leader of YAF that the SA
had no issue with the inclusion of the phrase from the Sharon Statement in the YAF constitution.
Accordingly, more than a week prior to your letter, the SA, through its own internal processes
and without any University or external intervention, had already informed the YAF leader that
the language in the YAF constitution posed no issue with respect to recognition. I trust that
answers your concerns.
Please allow me a modest correction to your letter as well. As a 2013 Binghamton graduate, you
may recall that the SA is a separately incorporated organization and not the University itself. I
do not make that point to suggest that Binghamton University would have failed to respond had
the concerns you raised been fully accurate and current as evidenced by my actual inquiry of the
SA on the matter. Rather, I raise the point to note that your statement that “the State University
of New York at Binghamton has denied or delayed recognition of a chapter of a student



                                                                                             SA017
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organization…” fails to acknowledge that the SA and the university are separate entities and that
it was the SA’s recognition process in issue.
Thank you for bringing this concern to our attention. As it turns out the matter was resolved
before you wrote and before any University official had even been notified of the potential
concern. Should a similar matter arise in the future, please feel free to give me a call directly.
Your concerns in this instance might have been addressed more expeditiously with that
approach.


Sincerely yours,




Brian T. Rose
Vice President Student Affairs


CC:    Harvey Stenger, President Binghamton University
       Barbara Scarlett, University Counsel
       Erin Bishop, Executive Vice President Binghamton Student Association




                                                                                                SA018
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The Student Association at Binghamton University Mail - Binghamton Univ_YAF                                                 7/29/20, 2(38 PM




                                                                              Executive Vice President SA <evp@binghamtonsa.org>



 Binghamton Univ_YAF
 1 message

 Brian T Rose <brose@binghamton.edu>                                                                    Mon, Oct 28, 2019 at 9:26 AM
 To: zach.greenberg@thefire.org
 Bcc: evp@binghamtonsa.org


    Dear Mr. Greenberg:



    Please see attached.



    Sincerely,



    Brian T. Rose

    Vice President for Student Affairs

    Binghamton University

    607-777-4788

    brose@binghamton.edu




          Fire Response_YAF.docx
          54K




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The Student Association at Binghamton University Mail - College Republicans B-There suspension                                  7/29/20, 2(51 PM




                                                                                Executive Vice President SA <evp@binghamtonsa.org>



 College Republicans B-There suspension
 2 messages

 Executive Vice President SA <evp@binghamtonsa.org>                                                     Thu, Nov 14, 2019 at 4:30 PM
 To: Orrin J Kenyon <okenyon@binghamton.edu>
 Cc: Matthew Johnson <assistantdirector@binghamtonsa.org>

    Hi Orrin,

    I am writing to officially ask that College Republicans have their B-there account suspended. As you already know,
    they've violated both university and SA policy in regards to tabling without approval, as well as refusing to cooperate
    after being notified of their violations.

    Let me know if you need anything else from me.

    Best,
    Erin



                             Erin Bishop
                             Executive Vice President
                             Student Association at Binghamton University, Inc.
                             (607) 777-7777 | binghamtonsa.org | UUW 203




 Orrin J Kenyon <okenyon@binghamton.edu>                                                                Fri, Nov 15, 2019 at 12:50 PM
 To: Executive Vice President SA <evp@binghamtonsa.org>
 Cc: Matthew Johnson <assistantdirector@binghamtonsa.org>

    Thank you for the update Erin. Their access has been removed.
    [Quoted text hidden]
    --

    Orrin Kenyon
    Assistant Director for The Union Operations
    UU-W205
    607-777-2813




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                                                                                                                         SA020
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The Student Association at Binghamton University Mail - RE: Question from Website:                                             7/29/20, 2(49 PM




                                                                                 Executive Vice President SA <evp@binghamtonsa.org>



 RE: Question from Website:
 1 message

 Matthew Johnson <assistantdirector@binghamtonsa.org>                                                    Thu, Nov 21, 2019 at 5:01 PM
 To: durbanski@theblaze.com
 Bcc: eboard@binghamtonsa.org


    Good afternoon and thank you for your message,



    I’d be happy to provide some clarification to the current misinformation being spread. First, allow me to clarify that
    the Student Association (SA) does not have the ability to grant permission for organizations to table; the space/tabling
    reservation authority lies with various university personnel charged with reviewing and approving those requests.
    Anything to do with reservable spaces and the corresponding policies is entirely under the University’s purview. Our
    role is only to provide the University with a list of organizations eligible to make reservations or, conversely, advising
    them to remove space reservation privileges for an organization under sanction for violating policy.



    The SA expects that all of our organizations comply with published university policy. This expectation is found in the
    SA Management Policies (https://www.binghamtonsa.org/files/SA-Management-Policies-Sept-17-2019.pdf):

     Section VII: Subsidiary Organizations, 11. Responsibilities:

                All subsidiary organizations have the following responsibilities in addition to those assigned elsewhere
                throughout the rules:

                     a. Conduct itself in compliance with the law, the stipulations the Student Association’s insurance
                        provider, University policy, and Student Association rules, including the nondiscrimination and
                        open events sections of the Student Association Constitution.



    The University policy that was violated is contained within the “Reservation Guidelines” (https://www.binghamton.edu/
    services/union/gather/reservation-guidelines.html) webpage. Specifically, under the “Other Rules Regarding
    Reservations and Events” section, it states:

                Reservations for the Spine, Peace Quad, and Campus Perimeter require a mandatory meeting
                with Orrin Kenyon, Assistant Director of Union Operations, in UU-W205 prior to approval.
                These requests must be submitted through the Bthere reservation site.


    When we, the Student Association, are informed that an organization has violated University policy/procedure, we will
    follow up with that organization to verify that the violation was in fact theirs before assigning any sanctions. In cases
    where there is an ongoing violation, we will attempt to get to the site to witness firsthand what is happening and
    address it on the spot, while verbally warning the organization of what sanctions they may expect if they continue to
    violate the relevant policy.



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The Student Association at Binghamton University Mail - RE: Question from Website:                                             7/29/20, 2(49 PM



    With regard to the College Republicans’ event on November 14, a University staff member contacted us with a
    generalized question to the effect of “what happens to an organization that violates the space reservation policy? And
    what happens if they continue to do so after being warned they’re in violation?” Without knowing this was anything
    more than a hypothetical question, we responded with “they’ll have their B-There (room reservation) privileges
    suspended for knowingly violating campus policy, with potential for greater sanctions if they do refuse to comply with
    a university official.”



    After that response, the university staff member informed us that the College Republicans were holding an
    unauthorized tabling event on the Spine outside the Union, which is a reservable space. Prior to coming to us with that
    question, CR had been informed by this staff member that they couldn’t table there since it was a reservable location
    BUT they could a) move to another location further down the Spine that is not considered a reservable space, or b)
    remain on this part of the Spine, just without a table (since without equipment, it would just be a free assembly of
    individuals handing out information on a cause). The response the staff member received was “what happens if we
    stay here?” which prompted the staff member to contact our office regarding what happens in the event of policy
    violations.



    As Binghamton University is a public university, the assertion that the College Republicans were tabling on public
    property would appear accurate. What that assertion fails to recognize, however, is that use of public property will
    often be governed by policies and procedures that must be followed in order to host an event in that space. While
    many of the outdoor spaces on our campus are considered uncontrolled spaces (meaning anyone can table there any
    time), the University at some point in the past deemed it to be a reservable (controlled) space since this location is in
    such high demand due to pedestrian traffic – meaning you have to have a confirmed reservation in order to have an
    event there. As an aside, the location CR set up had already been confirmed for another organization (Hillel/Jewish
    Student Union) for the majority of the day…a fact which CR disregarded and ultimately infringed upon Hillel/JSU’s
    confirmed right to hold their event in that location.



    To bring this back to the beginning assertion by the College Republicans, I believe a more accurate statement would be
    that “the College Republicans lost B-There (room reservation) privileges because they failed to follow established SA
    and University policy governing use of that space and, furthermore, refused to move or otherwise comply with
    university officials when informed of nearby alternate locations that weren’t governed by the reservation policy.”



    I hope this response provides sufficient information for your story. Please let us know if you have any additional
    questions regarding this matter.



    Best,

    -Matt



    Matt W. Johnson, M.S.
    Assistant Director

    Student Association of Binghamton University, Inc.

    (607) 777-2020 | binghamtonsa.org | UUW 203



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The Student Association at Binghamton University Mail - RE: Question from Website:                                             7/29/20, 2(49 PM




    From: Student Association <getinvolved@binghamtonsa.org>
    Sent: Thursday, November 21, 2019 11:45 AM
    To: Matthew Johnson <assistantdirector@binghamtonsa.org>
    Subject: Fwd: Question from Website:




    SA Reception Staff
    Student Association of Binghamton University, Inc.

    (607) 777-7777 | binghamtonsa.org | UUW 203



    ---------- Forwarded message ---------
    From: Dave Urbanski <durbanski@theblaze.com>
    Date: Wed, Nov 20, 2019 at 10:11 AM
    Subject: Question from Website:
    To: <getinvolved@binghamtonsa.org>




                      Name


                      Dave Urbanski




                      Email


                      durbanski@theblaze.com




                      Comment or Message


                      Hello --- I'm a writer from TheBlaze, which is Glenn Beck's news website

https://mail.google.com/mail/u/0?ik=4dbe2e392f&view=pt&search=…ead-f%3A1650850468507031094&simpl=msg-f%3A1650850468507031094        Page 3 of 4

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The Student Association at Binghamton University Mail - RE: Question from Website:                                             7/29/20, 2(49 PM



                      (www.theblaze.com). I'm following up on an assertion by the College Republicans at
                      SUNY Binghamton that the student government suspended their access to meeting room
                      reservations for tabling without SA permission last Thursday. But a CR officer told
                      Campus Reform the sanction is wrong because the College Republicans were tabling on
                      public property. Do you wish to comment? Thank you, Dave Urbanski, TheBlaze, 609-
                      647-3888




                                           Sent from Student Association of Binghamton University, Inc.




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                                                                                                                        SA024
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The Student Association at Binghamton University Mail - BU Progressives Email                                                7/29/20, 2(44 PM




                                                                                Executive Vice President SA <evp@binghamtonsa.org>



 BU Progressives Email
 2 messages

 Executive Vice President SA <evp@binghamtonsa.org>                                                        Fri, Dec 6, 2019 at 4:23 PM
 To: "Rose, Brian" <brose@binghamton.edu>

    Hello Brian,

    Matt has forwarded me the email from you in regards to the Progressive's letter for the November 18th protest. Is
    there any way you can forward me the actual email? I'd like to have it for my records in case there was any doubt from
    them when I suspend their account.

    Best,
    Erin



                              Erin Bishop
                              Executive Vice President
                              Student Association at Binghamton University, Inc.
                              (607) 777-7777 | binghamtonsa.org | UUW 203




 Brian T Rose <brose@binghamton.edu>                                                                       Fri, Dec 6, 2019 at 5:58 PM
 To: Executive Vice President SA <evp@binghamtonsa.org>


    HI Erin – It went around as a google doc to various members of cultural orgs so I’ve given you what I
    have. It was forwarded to us by a student who was alarmed by the approach. That student would like
    to remain anonymous. That’s what I have.



    Brian



    Brian T. Rose

    Vice President for Student Affairs

    Binghamton University
    607-777-4788

    brose@binghamton.edu
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